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IN THE CIRCUIT COURT OF THE
FOURTH JUDICIAL CIRCUIT IN AND
FOR DUVAL COUN'I`Y, FLOR]DA

STEPHEN KNUTH,
Plaintiff,
v. CASE NO:
lug Trial Demanded
Department Stom National Bank,

Defendant.
/

COMPLAINT FOR INJUNC'I`IVE RELIEF AND DAMAGES

 

Plaintiff STEPHEN KNUTH (“Mr. Knuth” or “Plaintiff") files suit against Department

Stores National Bank ("DSNB") and in support alleg%:
NATURE 0F ACTION

l. This is an action for injunctive relief and damages in excess of $l$,000 by
Plaintiff, Stephen Knulh, an individual consumer, for violations of the Tclephone Consumer
Protection Act, 47 U.S.C. § 227 et seq. (‘“TCPA”) and the Florida Consumer Collection Practices
Aer, Fla. sm. § 559.55 ec seq. (“FCCPA") by DSNB. Fundam¢mauy, this ease is about DsNB's
reidsal to rewect Mr. Knuth’s personal and !egal rights in its attempts to collect an alleged debt.

JUR]SDICT!ON AND VENUE
2. Jurisdiction of this Court arises pursuant to F|a. Stat. § 26.012, Fla. Stat. §

559.77(1) and 47 U.S.C. § 227(b)(3).

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FILED: DUVAL COUNTY, RONNIE FUSSELL, CLERK, 05/04/2016 09:41:46 AM

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3. Plaintiff, Stephen Knuth, is a natural person residing in Duval County, Florida.

4. Dei`endant DSNB, Dci`endant, Department Stores National Bank, (“DSNB") is a
national banking association Its principal place of business is 701 East 60th Street, Souix Falls,
South Dakota. DSNB finances, issues and services the Macy’s branded credit card. Plaintiff had
an alleged debt to DSNB arising out ofpersonal, family, or household purposes.

5. Plaintiff is the regular user and carrier of the cellular telephone 954-290-6537 and
was the called party and recipient of the DSNB calls.

6. Plaintiff is the “called party.” See Soppet v. Enhanced Recovery Co., LLC, 679
F.3d 637, 643 (7th Cir. 2012).

7. Plaintiff is a "consumer” as defined in F[orida Statute Section 559.55(2).

8. Defendant is a corporate entity responsible for attempting to collects debt from
Plaintiff and is transacting business in the State of Florida.

9. Plaintiff hired Davis Law Firm to represent his with regard to all debts and claims
that his creditors may have had against his, and to seek relief from the overwhelming volume of
debt collection calls and letters that Plaintit`f was rccciving.

BACKGROUND

10. Plaintiff has a Maoy’s credit card account issued by DSNB, ending in 1752.

ll. The alleged debt that is the subject matter of this complaint is a “consumer debt”
as cleaned by norma secure section 559.55(1).

12. Beginning in late 20l2, Plaintih" began to receive multiple telephone calls to his
cell phone (954-290-6537) from DSNB in an attempt to collect an alleged debt.

13. Tired of receiving the harassing calls, on October 4, 2013 at approximately 2:$2

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PM, Mr. Knulh spoke with a DSNB representative at number 1-513-573-8031 and informed
them to stop calling his cell phone and to stop harassing him.

14. Plaintiff received fourteen additional calls from DSNB and during each call he
told DSNB to stop calling and harassing him.

15. For instance, Plaintiff answered all of the calls, and each time told the employee
of the cease and disist letter.

16. During the calls, Plaintiff often asked for thc DSNB employce’s name and
identification number. Most of the times the employees reli.\sed.

17. Despitc his request for the calls to stop, DSNB continued to call Plaintlff's'
cellular phone.

18. DSNB called the Plaintiff using telephone numbers: (1) 727-556-5000, (2) 727~
553-7300, (3) 513~573-8083, (4) 727-556-5492, (5) 513-573-8739, (6) 800-511-3207, (7) 513~
754-9863. (8) 721-556-7300, (9) 513-573-8031, and (10) 513-398.5221.

19. Exhibit “A” displays the times and dates of at least some of the 15 telephone calls
made by DSNB to Mr. Knuth’s cellular telephone between October 4, 2013 and March 22, 2016,
and the subsequent text messages .

20. The phone number 727-556-5000 is a number that does or did belong to DSNB or
its agents.

21. The phone number 727-553-7300 is a number that does or did belong to DSNB or
its agents.

22. The phone number 513-573-8083 is a number that does or did belong to DSNB or
its agents.

23. The phone number 727-556-5492 is a number that does or did belong to DSNB or

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its agents.

24. The phone number 513-573-8739 is a number that does or did belong to DSNB or
its agents

25. The phone number 800-511-3207 is a number that does or did belong to DSNB or
its agents.

26. The phone number 5 13-754-9863 is a number that does or did belong to DSNB or
its agents.

27. The phone number 727-556-7300 is a number that does or did belong to DSNB or
its agents.

28. The phone number 513-573-803| is a number that does or did belong to DSNB or
its agents.

29. The phone number 513-398-5221 is a number that does or did belong to DSNB or
its agents.

30. DSNB attempted to collect a debt from Plaintiffby this campaign of telephone
calls.

31. The telephone calls made to Plaintiti"s cellular telephone were willfully or
knowingly made.

32. The telephone calls made to Plaintift"s cellular telephone were made using an
automatic telephone dialing system.

33. The telephone calls made by DSNB were made using an artificial or prereeorded
voice.

34. DSNB did not have Plaintiff‘s consent to call his cellular telephone using

automatic telephone dialing equipment

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35. Plaintiff revoked any consent to call his cellular telephone by informing DSNB to
“stop calling” and to “cease and desist."

36. The telephone calls made to Plaintiff's cellular telephone were not made for
emergency purposes.

37. DSNB uses automatic telephone dialing systems.

38. DSNB has many similar complaints from consumers across the country to those l
alleged by Plaintiff in this lawsuit

39. All conditions precedent to bringing this action have been performed or have been
waived.

COUNT I - VIOLATIONS OF THE TCPA BY DSNB

40. Plaintiff incorporates by reference paragraphs l through 39 of this Cornplaint.

4l. DSNB willfully or knowingly placed non-emergency telephone calls to Plainciff's
cellular telephone using an automatic telephone dialing system and/or used a pre-recorded or
artificial voice to l’laintift’s cellular telephone without Plaintiff consent in violation of 47 U.S.C.
§ nve)(le)(iii).

42. WHEREFORE, Plaintiff requests that the Court enter judgment in favor of
Plaintiff and against Defendant, DSNB for:

a) Damages; and
b) Such other or further relief as the Court deems equitable, just, or proper.

COUNT II - VIOLATION§ QF THE
FLORIDA CONSUMER COLLECT[ON PRACTICES ACT

43. l’laintifi` incorporates by reference paragraphs l through 39 of this Cornplaint.
44. By continuing to contact Mr. Knuth despite having actual knowledge that Mr.

Knuth did not consent to be called, by using automatic telephone dialing equipment to call Mr.

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Knuth’s cellular telephone and leaving artificial or pre-recorded voicemails in his cellular
telephone's voicemail box, by calling his at least 15 times in such a short time span, by calling
him sher he requested the calls to stop, and by communicating with Mr. Knuth in a manner
reasonably expected to harass Mr. Knuth, DSNB engaged in conduct which can reasonably be
expected to abuse or harass Plaintiff in violation ofFla. Stat.§ 559.72(7).
45. Each harassing call is a separate violation of the FCCPA and a separate count in
this complaint
46. WHBRBFORE, Plaintih` requests that the Court enter judgment in favor of
Plaintiff and against Defendant, DSNB for:
a) Actual and statutory damages;
b) Attorncy’s fees and costs of suit; and
c) A permanent injunction enjoining the Defendant from engaging in the violative
practices; and
d) Such other or timher relief as the Court deems equitable, just, or proper.

DAVIS LAW FIRM

~A'QQD_MM.§
Tonn M. DAvrs, EsQ.
FL BAR NO. 58470
Bank of A.merica Tower
50 N. Laura Street

Suitc 2500

Jacksonville, FL 32202
904-400-1429 (']`)
904~638-8800 (F)
TD@DavisPLLC.com

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Call Log - Exhibit “A”

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Call Date Call Tlme Telephone Number
l. 10.4.2013 2:54PM (513) 573-8031
2. 3.29.2014 4:10PM (727) 556-7300
3. 8.5.2014 8:35AM (513) 754-9863
4. 3.5.2015 12:11PM (727) 556-5000
5. 5.29.2015 4:21PM (800) 511-3207
6. 5.30.2015 12:56PM (727) 556-5492
7. 5.31.2015 " 1:19PM (513) 573-8739
8. 7.19.2015 1:42PM (513) 398-5221
9. 2.29.2016 9:50AM (727) 556-5492
10. 3.4.2016 4:05PM (513) 573-8083
1 1. 3.4.2016 9:24AM (513) 573-8083
12. 3.5.2016 1:18PM (513) 573-8083
13. 3.5.2016 9:35AM (513) 573-8083
14. 3.6.2016 1:34PM (727) 556-7300
15. 3.22.2016 10:03AM (727) 556-5000
16. 4.18.2016 3:15 PM Text
17. 4.20.2016 3:15 PM Text
18. 4.22.2016 3:15 PM Text

 

 

 

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- S|oux Falls ' Just|n

 

 

Sherif?s Oftioe Clvil Proeess
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South Dakota Professlonal Servlcas 605-368-1037

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US Customs

US Govt Contraetor Arthur G. Temp|e '
AGTEMP41@gmaI|.eom
FO Box 87972 SFSD 57109 605-553-5270

US Offlce of Pereonnel Management Federa| 0¢1519
|nvesl|gatlve Sewlces 605-362-0135
Shonda or Jason Klttles

